Case 2:O4-CV-O2388-SHI\/|-tmp Document 8 Filed 05/20/05 Page 1 of 2 Page|D 22

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

 

BRIDGESTONE FIRESTONE, INC.,
Plaintiff,

v. Cv. No. 04-2388-Ma

WENDELL CODY,

Defendant.
JUDGMENT
Decision. by' Court. This action. came for consideration
before the Court. The issues have been duly considered and a

decision has been rendered.
IT IS ORDERED AND ADJUDGED that this action is dismissed in

accordance with the Order of Dismissal with Prejudice, docketed
May 19, 2005. Costs are taxed to Plaintiff.

APPROVIEZ:% w M\

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

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ESSEE

 

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Honorable Samuel Mays
US DISTRICT COURT

